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 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,        )     1:08-cr-212 OWW
                                      )
12              Plaintiff,            )     APPLICATION FOR ORDER REGARDING
                                      )     CRIMINAL FORFEITURE OF PROPERTY
13        v.                          )     IN GOVERNMENT CUSTODY - 18 U.S.C.
                                      )     § 983(a)(3)(B)(ii)(II)
14   HARJEET MANN,                    )
     JASDEV SINGH, and                )
15   SUKHRAJ DHALIWAL,                )
                                      )
16              Defendants.           )
                                      )
17

18        The United States of America, through its counsel, hereby moves

19   for an order allowing the Government to maintain custody of property

20   already in the Government’s possession pending the resolution of a

21   criminal forfeiture matter.          The grounds for the motion are as

22   follows:

23        On or about June 20, 2008, pursuant to a narcotics

24   investigation, agents with the Drug Enforcement Administration

25   (“DEA”) seized the following property:

26        a.)   Approximately $101,763.70 in U.S. Currency; and

27        b.)   Approximately $739,394.00 in U.S. Currency.

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 1   Hereafter, the above-referenced assets are collectively referred to

 2   as the “seized assets.”

 3        In accordance with 18 U.S.C. § 983(a)(1), the DEA sent notice

 4   to defendants Harjeet Mann, Jasdev Singh, and Sukhraj Dhaliwal of

 5   its intent to forfeit the seized assets in a non-judicial forfeiture

 6   proceeding, and caused that notice to be published in a newspaper of

 7   general circulation.

 8        On or about August 11, 2008, defendant Harjeet Mann filed a

 9   claim with DEA contesting the administrative forfeiture of assets

10   a.) and b.) above pursuant to 18 U.S.C. § 983(a)(2).

11        Pursuant to 18 U.S.C. § 983(a)(3), the United States has 90

12   days in which to 1) return the property to the defendant, 2)

13   commence a civil judicial forfeiture action, or 3) commence a

14   criminal forfeiture action by including the seized assets in a

15   criminal indictment.     On October 16, 2008, the Government elected

16   the third option when it filed a Superseding Indictment containing

17   a forfeiture allegation concerning the seized assets.              That

18   Superseding Indictment is now pending in this Court.

19        Title 18 U.S.C. § 983(a)(3)(B)(ii)(II) provides that when the

20   Government    elects   the   third   option,   it   must   “take    the   steps

21   necessary to preserve its right to maintain custody of the property

22   as provided in the applicable criminal forfeiture statute.”                The

23   applicable forfeiture statute in this case is 21 U.S.C. § 853.            That

24   statute prescribes several methods for preserving property for the

25   purpose of criminal forfeiture.

26        Section § 853(f) authorizes the issuance of a criminal seizure

27   warrant.     However, in cases like this one, where the property in

28   question is already in Government custody, it is not appropriate for

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 1   a court to issue a seizure warrant directing the Government to seize

 2   property from itself.        In turn, Section 853(e) authorizes the court

 3   to issue a restraining order or an injunction to preserve the

 4   property for forfeiture.        However, that provision is not pertinent

 5   because there is no need to enjoin the Government from disposing of

 6   property that the Government has taken into its custody for the

 7   purpose of forfeiture, and that the Government intends to preserve

 8   for that purpose through the conclusion of the pending criminal

 9   case.

10           Finally, Section 853(e)(1) also authorizes a court to “take any

11   other action to preserve the availability of property” subject to

12   forfeiture.     The Government contends that this provision applies in

13   circumstances where, as here, the Government has already obtained

14   lawful custody of the seized assets pursuant to a federal narcotics

15   investigation where probable cause existed to believe the seized

16   assets were used or intended to be used to facilitate narcotics

17   trafficking,     and   the   Government    seeks   to   comply   with   Section

18   983(a)(3)(B)(ii)(II).        Thus, all that is required to comply with

19   Section 983(a)(3)(B)(ii)(II) is an order from this Court stating

20   that the United States and its agencies, including DEA and/or the

21   U.S. Marshals Service, may continue to maintain custody of the

22   seized assets until the criminal case is concluded.

23           Accordingly, pursuant to Section 853(e)(1), the United States

24   respectfully moves this court to issue an order directing that the

25   United States may maintain custody of the seized assets through the

26   conclusion of the pending criminal case, and stating that such order

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 1    satisfies the requirements of 18 U.S.C. § 983(a)(3)(B)(ii)(II).

 2   Dated:     11/12/08                McGREGOR W. SCOTT
                                        United States Attorney
 3

 4
                                        /s/ Karen A. Escobar
 5                                      KAREN A. ESCOBAR
                                        Assistant U.S. Attorney
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 8                                      ORDER

 9         This matter comes before the Court on the motion of the United

10   States for an Order authorizing the Government and its agencies to

11   maintain custody of certain property pending the conclusion of the

12   pending criminal case. For the reasons provided in the Government’s

13   motion, the Court makes the following orders:

14         IT IS HEREBY ORDERED, that the United States and its agencies,

15   including the DEA and/or the U.S. Marshals Service, are authorized

16   to maintain and preserve the following assets until the conclusion

17   of the instant criminal case, or pending further Order of this

18   Court:

19         a)    Approximately $101,763.70 in U.S. Currency; and

20         b)    Approximately $739,394.00 in U.S. Currency.

21   IT IS SO ORDERED.

22   Dated: November 12, 2008               /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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